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                                 984 MORRIS PARK AVENUE
                                  BRONX, NEW YORK 10462
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                                Email: jwoluewich@gmail.com


January 31, 2018

Honorable Valerie Caproni
United States District Judge
United States District Court
Southern District of New York
40 Foley Square - Room 240
New York, New York 10007

         RE: 17-CV-08733 (VEC)
             DAILY NEWS CHARITIES, INC.
             USA BOXING METROPOLITAN ASSOCIATION

Dear Judge Caproni:

       Please accept this brief reply to Mark Lerner’s January 30, 2018 correspondence.

       Dr. Osric King is an attending physician at the Hospital for Special Surgery in
New York City. Dr. King donates his medical services to several local charities – USA
Boxing Metropolitan Association (“Metro”) being one of them. In that regard, Dr. King is
one of over Seven Hundred (700) volunteers who generously dedicate their free time to
Metro and to serving New York City’s underprivileged youth.

       The subject email that was sent by Dr. King was not directed, authorized and/or
sanctioned by Metro (i.e. the subject of this Honorable Court’s Preliminary Injunction).
The email was not sent from an official Metro email account. The email was not posted
on any of Metro’s public forums or social media sites. As Mr. Lerner correctly
represented to this Honorable Court, the email was completely private.

        Notwithstanding the above, I contacted Dr. King last night. He explained to me
that he thought, in good-faith, that he was following this Honorable Court’s Preliminary
Injunction by explicitly noting that the Daily News is not involved with, sponsoring or
endorsing Metro’s 2018 qualifying tournament for the National Golden Gloves.

        In light of the above, I personally reviewed this Honorable Court’s Preliminary
Injunction with Dr. King, explained the contextual distinctions & nuances contained
therein and I am happy to report that Dr. King immediately sent out a second email that
clarified the subject email (attached hereto).
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        Moving forward, Metro is drafting a press release that will explain to its
membership, in great detail, the contextual limitations set forth in this Honorable Court’s
Preliminary Injunction. I expect that the press release will be sent to Metro’s membership
either Friday or Monday. I am assisting Metro with the same and, as I represented to this
Honorable Court yesterday, my time has been significantly limited while I have been
engaged in Court-ordered depositions this week (on a Seven-year-old case).

       Further, New York City press agencies have recently contacted Metro. While
Metro does not have any ability to control third-party reporters, I do expect that several
newspaper articles may be published soon detailing the ongoing controversy with Daily
News, Metro’s new local qualifying tournament for the National Golden Gloves, the
contextual limitations regarding what the new tournament can and cannot be named and
how the new tournament may be represented to the public and distinguished from the
Daily News.

       In closing, while the subject email did not emanate from Metro, Metro is
nonetheless taking further, affirmative and good-faith steps to ensure that all of its
members and associates (i.e. thousands of unaffiliated individuals and entities) fully
comply with this Honorable Court’s Preliminary Injunction.

        I respectfully apologize to this Honorable Court for any confusion and welcome
Mr. Lerner, once again, to contact me the very moment he is forwarded any materials
(third party or otherwise) that could be reasonably deemed infringing. This Honorable
Court and Daily News Charities can rest assured that all efforts will be made by Metro to
immediately remove, clarify and/or qualify the same.



                                                     Sincerely yours,



                                                     ____________________
                                                     Johnnie Woluewich, Esq.
Gmail - USA Boxing Metro Tournament Medical Seminar Location
                     Case    1:17-cv-08733-VEC        Document      51https://mail.google.com/mail/u/0/?ui=2&ik=fc88f7ac63&jsver=...
                                                                          Filed 01/31/18 Page 3 of 4



                                                                        Johnny Woluewich <jwoluewich@gmail.com>



         USA Boxing Metro Tournament Medical Seminar Location
         King, Osric MD <KingO@hss.edu>                                                     Tue, Jan 30, 2018 at 7:32 PM
         To: "Chang, Richard" <richard.chang@mountsinai.org>, Ariana Gluck <ariana.gluck@gmail.com>,
         "emily.n.gray09@gmail.com" <emily.n.gray09@gmail.com>, Jonathan Ramin <jonathan.ramin@gmail.com>,
         "Teresa.Bianchi@nyumc.org" <Teresa.Bianchi@nyumc.org>, Anokhi Mehta <anmehta5@gmail.com>, Mariam
         Zakhary <mariam.zakhary@gmail.com>, "punder@optonline.net" <punder@optonline.net>,
         "davecancel99@yahoo.com" <davecancel99@yahoo.com>, "robertsrules06@gmail.com"
         <robertsrules06@gmail.com>, "rrules06@aol.com" <rrules06@aol.com>, "baccracr@aol.com"
         <baccracr@aol.com>, "bobopolo2@aol.com" <bobopolo2@aol.com>, "sherry.wulkan7@gmail.com"
         <sherry.wulkan7@gmail.com>, "ri158@aol.com" <ri158@aol.com>, "boxndoc@aol.com" <boxndoc@aol.com>,
         "jefkap@aol.com" <jefkap@aol.com>, "joseph.herrera@mountsinai.org" <joseph.herrera@mountsinai.org>,
         "dr.massac2@gmail.com" <dr.massac2@gmail.com>, "'patrick.cleary@downstate.edu"
         <'patrick.cleary@downstate.edu>, "drbobby444@gmail.com" <drbobby444@gmail.com>, "jrdlvn@gmail.com"
         <jrdlvn@gmail.com>, "edamores@hotmail.com" <edamores@hotmail.com>, "abrowne24@yahoo.com"
         <abrowne24@yahoo.com>, "Kim, Amie" <Amie.Kim@mountsinai.org>, Celine Thum <drcelinethum@gmail.com>,
         "Sethi, Nitin (DOS)" <Nitin.Sethi@dos.ny.gov>, Jennifer Galjour <jennifer.galjour@gmail.com>
         Cc: Deni <dauclair56@gmail.com>, "slamonakis@yahoo.com" <slamonakis@yahoo.com>, Ray Cuadrado
         <raycuadrado1@aol.com>


           Colleagues,



           Please allow this email to clarify my previous email. The Daily News will not
           be involved in the “Metro Qualifier”, which is USA Boxing Metro’s local
           qualifying tournament for the 2018 National Golden Gloves Tournament
           (Omaha, Nebraska).




             The USA Boxing Metro Tournament Medical Seminar will be
                                    held on:


                                                     February 3rd,
                                             from 10 am to 2 pm at:


                                           310 5th Avenue 3rd Floor


1 of 2                                                                                                             1/31/18, 9:47 AM
Gmail - USA Boxing Metro Tournament Medical Seminar Location
                     Case    1:17-cv-08733-VEC        Document   51https://mail.google.com/mail/u/0/?ui=2&ik=fc88f7ac63&jsver=...
                                                                       Filed 01/31/18 Page 4 of 4


                                           New York, NY 10001



          Please RSVP ASAP (if not already done) and indicate whether or not you will be
          attending the seminar and/or planning to cover one of the shows, so we can get a
          head count. Please indicate if you are responding for other individuals besides
          yourself. The show schedule will be finalized in the next week. If you have not
          done so, it's required that you are a licensed physician and registered with USA
          Boxing, in order to participate.




2 of 2                                                                                                          1/31/18, 9:47 AM
